Case 8:22-cv-01768-PJM Document 59-2 Filed 08/03/22 Page 1 of 10

EXHIBIT B
8/2/22, 4:03 PM Case Information

Case 8:22-cv-01768-PJM Document 59-2 Filed 08/03/22 Page 2 of 10

Go Back Now
Case Information

Court System: DISTRICT COURT FOR PRINCE GEORGE'S COUNTY - CRIMINAL SYSTEM
Case Number: 5E00715391 Tracking No: 190001145902

Case Type: CRIMINAL

District Code: 05 Location Code: 02

Document Type: STATEMENT OF CHARGES Issued Date: 06/23/2022

Case Status: ACTIVE

Defendant Information

Defendant Name: HERNANDEZ, ANIBAL ERICK JR
Race: WHITE, CAUCASIAN, ASIATIC INDIAN, ARAB
Sex: M_ Height: 509 Weight: 170 DOB: 02/09/1993

Address: 6815 DECATUR ST
City: HYATTSVILLE State: MD Zip Code: 20784 - 0000

Court Scheduling Information

Trial Date: 08/24/2022 Trial Time: 10:15 AM Room: 261

Trial Type: FELONY DISMISSAL DATE
Trial Location: COURTHOUSE,14735 MAIN STUPPER MARLBORO 20772-3042

Charge and Disposition Information

(Each Charge is listed separately. The disposition is listed below the Charge)

Charge No: O01 Description: CDS: POSS W/I DIST: NARC

Statute: Description:
Amended Date: CJIS Code: 11119 MO/PLL: Probable Cause: X

Incident Date From: 06/22/2022 To: 06/22/2022 Victim Age:

Charge No: 002 Description: CDS:IMPORT INTO STATE

Statute: CR.5.614 Description: CDS:IMPORT INTO STATE
Amended Date: CJIS Code: 3 3550 MO/PLL: Probable Cause: X

Incident Date From: 06/22/2022 To: 06/22/2022 Victim Age:

Charge No: 003 Description: CDS: POSSESS-NOT MARIJUANA

Statute: Description:
Amended Date: CJIS Code: 11111 MO/PLL: Probable Cause: X

Incident Date From: 06/22/2022 To: 06/22/2022 Victim Age:

Charge No: 004 Description: CDS: POSS MARIJUANA 10 GM+

Statute: Description:
Amended Date: CJIS Code: 11564 MO/PLL: Probable Cause: X

Incident Date From: 06/22/2022 To: 06/22/2022 Victim Age:

Charge No: 0O5 Description: FIREARM/DRUG TRAF CRIME

Statute: CR.5,.621.(b)(1) Description: FIREARM/DRUG TRAF CRIME
Amended Date: CJIS Code: 10493 MO/PLL: Probable Cause: X

Incident Date From: 06/22/2022 To: 06/22/2022 Victim Age:

Related Person Information

https://casesearch.courts.state.md.us/casesearch/inquiryDetail.jis?caseld=5E007 15391 &loc=20&detailloc=DSCR

1/2
8/2/22, 4:03 PM Case Information
Case 8:22-cv-01768-PJM Document 59-2 Filed 08/03/22 Page 3 of 10

(Each Person related to the case other than the Defendant is shown)
Name:MITCHELL, OFFR
Connection:COMPLAINANT/ POLICE OFFICER
Agency Code: DA Agency Sub-Code: NED Officer ID: 2723

Name:PRYCE, MELISSA
Connection: ASSISTANT PUBLIC DEFENDER

Address: DISTRICT PUBLIC DEFENDER
14735 MAIN ST, ROOM 272B

City: UPPER MARLBORO State: MD Zip Code: 20772 - 0000

Name:EARNEST, RON

Connection: ASSISTANT PUBLIC DEFENDER

Address: DISTRICT PUBLIC DEFENDER
14735 MAIN ST., ROOM 272B

City: UPPER MARLBORO State: MD Zip Code: 20772 - 0000

Event History Information

Event Date Comment

DOCI 06/23/2022 SC ISSUED 220623

INIT 06/23/2022 220623;00000000.00;HWOB;100; ;5098
CMIT 06/23/2022 DEFENDANT COMMITTED;220623;PGD
BALR 06/24/2022 220624;00000000.00;HWOB;100; ;0CX
CMIT 06/24/2022 DEFENDANT COMMITTED;220624;PGD;
BALR 07/25/2022 220725;00005000.00;HDOB;010; ;OBI
CMIT 07/25/2022 DEFENDANT COMMITTED;220725;PGD
BOND 07/25/2022 220725;00005000.00;PCT ; ; ;010

RELS 07/25/2022 DEFENDANT RELEASED FROM COMMITMENT

This is an electronic case record. Full case information cannot be made available either because of legal restrictions
on access to case records found in Maryland Rules, or because of the practical difficulties inherent in reducing a case
record into an electronic format.

https://casesearch.courts.state.md.us/casesearch/inquiryDetail jis?caseld=5E007 15391 &loc=20&detailloc=DSCR 2/2
Case 8:22-cv-01768-PJM Document 59-2 Filed 08/03/22 Page 4 of 10

Angela D. Alsobrooks

County Executive

TO:

FROM:

DEFENDANT:

PRINC . GEORGE'S COUNTY OVERNMENT
Department of Corrections

July 13, 2022

The Honorable LaKeecia Renee Allen
q)96) AU!
Hope Clark, Case Manager, Monitoring Services X “sAM

Anibal Hernandez Jr.

CASE/CHARGE: _—[1. CR5E007115391 Firearm/Drug Trafficking] 52// 52l

[X] The above defendant has been evaluated for program placement;

[ ] The above defendant is being reconsidered for pretrial release;

[x] The above defendant is no longer eligible for pretrial release;

[ ] The above defendant violated “Conditions of Release”;

{[ ] The above defendant's whereabouts are currently unknown/absconded;
STATUSES

1. [ ] Victim Fears

Zs [ ] Pending Case (s)/Detainer (s)

3. [ ] Criminal History

4. [X] No Verifiable Address

, [ ] Mental Health Issue / Evaluation Pending

6. [ ] Medical Health Issue(s)

Ts [ ] Violated “Conditions of Release”

8. [ |] Federal Hold or State Hold L5 f
9: [ ] Other-See Explanation ft f

=pLANATION Fh

13400 Dille Drive, Upper Marlboro, Maryland 20772

(301) 952-4800 * 711 Maryland Relay Service * www.princegeorgescountymd.gov
Case 8:22-cv-01768-PJM Document 59-2 Filed 08/03/22 Page 5 of 10

I

DISTRICT COURT OF MARYLAND FOR Prince George's County

HERNANDEZ, ANIBAL ERICK JR Case No. 5E00715391
6815 DECATUR ST Sex:M Hu 3'09") Wt: 170 Race: 2 Eyes: BRN Hair: BLK
HYATTSVILLE, MD 20784-0000 DOB QR = Home phone: GE Cellphone:

CC#H: XX-XXXXXXX LID: SID: 0004181618

DLA: (1 DEFENDANT IS A MINOR

CHARGE 001 OF 5 11119 CRS5602(2) --Felony20 Y &/or $15,000.00 CDS: POSS WII DIST: NARC
More charges on continuation page,

THE COURT ON THE DATE SHOWN BELOW --- (O RIGHTS GIVEN BY VIDEO
(MADE CERTAIN THE DEFENDANT RECEIVED COPY OF CHARGING DOCUMENT
(BAIL REVIEW POSTPONED

(CO iNFORMED DEFENDANT OF RIGHT TO COUNSEL AND IMPORTANCE OF ASSISTANCE OF COUNSEL
(CO DEFENDANT WAIVED ATTORNEY FOR BAIL REVIEW
(OTHE PUBLIC DEFENDER PROVIDED PROVISIONAL REPRESENTATION AT THE BAIL REVIEW

CUREPRESENTED BY: ‘YD t yl wre

(CO DEFENDANT ADVISED OF RIGHT AT CIINITIAL APPEARANCE (PRELIMINARY INQUIRY
CO REQUIRED DEFENDANT TO READ OR CL) READ TO DEFENDANT THE NOTICE OF RIGHTS TO COUNSEL.
CO ADVISED DEFENDANT OF THE NATURE OF THE CHARGES AND ALLOWABLE AND ANY MANDATORY OR ENHANCED PENALTIES
CI ADVISED DEFENDANT THAT MAKING NEXT APPEARANCE WITHOUT COUNSEL COULD SE A WAIVER

( REMINDED THE DEFENDANT THAT REPRESENTATION BY THE OPD AT BAIL REVIEW ENDS WITH THE BAIL REVIEW
CJADVISED FELONY DEFENDANT OF RIGHT TO PRELIMINARY HEARING

(] DEFENDANT REQUESTED PRELIMINARY HEARING AT THIS TIME

(J ADVISED DEFENDANT OF RIGHT TO JURY TRIAL
(7 RELEASED DEFENDANT ON OWN RECOGNIZANCE

LD WITHOUT BOND
(1 ORDERED BAIL TO REMAIN SAME CO CONDITION(SYRESTRICTION(S) TO REMAIN THE SAME
CUREVISED BAIL $ 00 COCASH (MAY BE POSTED BY THIRD PARTY) [J FAILURE TO PAY SUPPORT, TO BE CASH,
POSTED BY DEFENDANT ONLY (J PCcT__% (J UNSECURED PERSONAL BOND $ 00
(REINSTATED BAIL $ 00 POSTEDON /___/

(0 COMMITTED IN DEFAULT OF BOND

(J DEFENDANT IS A MINOR AND
(D SHALL BE HELD IN A SECURE JUVENILE FACILITY PROVIDED DEPARTMENT OF JUVENILE SERVICES DETERMINES THERE IS AVAILABLE CAPACITY TO HOLO OEFENDANT.

(SHALL NOT BE HELD IN A SECURE JUVENILE FACILITY, COURT FINDS THAT DETENTION IN A SECURE JUVENILE FACILITY WILL POSE A RISK OF HARM TO THE MINOR DEFENDANT
OR OTHERS FOR THE FOLLOWING REASONS:
IMPOSED THE FOLLOWING CONDITION(S)/RESTRICTION(S) ON THE DEFENDANT: wt

[EZREQUIRED CONDITIONS OF RELEASE: 1) DEFENDANT WILL NOT ENGAGE IN ANY CRIMINAL CONDUCT DURING THE PERIOD OF PREJRIAL
RELEASE AND 2) THE DEFENDANT WILL APPEAR IN COURT WHEN REQUIRED TO DO SO.
(0 BOND TO BE CO-SIGNED BY: :

(OD COMPLETE PTSU INTERVIEW
ROOF OF ADDRESS TO sors (J COMMISSIONER BEFORE RELEASE \
TSU TO VERIFY ADDRESS BEFORE RELEASE (~

IVE AT ADDRESS THAT PTSU HAS VERIFIED

(CO PROOF OF IDENTITY TO (1 PTsu (2 COMMISSIONER BEFORE RELEASE
(1 SURRENDER CURRENT PASSPORT/ALL TRAVEL DOCUMENTS TO THE COURT BEFORE RELEASE
(J SUBSTANCE ABUSE TREATMENT IF DEEMS NECESSARY

[O MENTAL HEALTH TREATMENT IF PTSU DEEMS NECESSARY

(NO CONTACT WITH VICTIMS/STATE'S WITNESSES/CO-DEFENDANTS

(STAY AWAY FROM
(OU USE ELECTRONIC MONITORING TO CONFIRM AREA OF RESTRICTION

(DO CURFEW: AS SET BY PTSU OR

(J REPORT TO PROBATION OFFICER NEXT BUSINESS DAY AFTER RELEASE

(TRANSFER DIRECTLY TO. BY WHEN BED AVAILABLE
( RELEASE TO THE FOLLOWING RESIDENTIAL TREATMENT PROGRAM,
(] REFERRED DEFENDANT FOR COMPETENCY EVALUATION ( OUT-PATIENT
TRIAL SCHEDULED: DATE: TIME: Loc: ROOM:
OIBAIL REVIEW ( PREL. INQUIRY ( PREL.HEARING OO TRIAL Ovope (J SENTENCING

(PLACED IN CUSTODY OF.
(J PRE-TRIAL SUPERVISION BY.

CJ ALCOHOL SCREENING (CJ DRUG SCREENING ~
(J ALCOHOL PROGRAM (J DRUG PROGRAM

Prince George's County Only:

(J GPSTRACKING: _, , $ Fay FEE WAIVED

<M OTHER: : : vWD )
ph fen f) £ { ES. ioe
| UZ Jv [* St
Date Judge 74 1S Nyxber NY

Tracking No. 190001145 b02
DC-BR-DOC-001 BAIL REVIEW DOCKET (Rev, 11/2017)
Case 8:22-cv-01768-PJM Document 59-2 Filed 08/03/22 Page 6 of 10

AUTO AOT

DISTRICT COURT OF MARYLAND FOR PRINCE GEORGE'S COUNTY
ocated at COURTHOUSE, 14735 MAIN ST., UPPER MARLBORO, MD 20772 Case No. 5E00715391

STATE OF MARYLAND VS. HERNANDEZ, ANIBAL ERICK JR
6815 DECATUR ST
HYATTSVILLE MD 207840000

Cc

CC #:XX-XXXXXXX State ID; 0004181618 LocID:
Eyes: BRN Hair: BLK Height: 5'09" Weight: 170 Ib.
Race:2 Sex:M DO; DL #:

Charge | Statute | AR/Citation Charge | Statute | AR/Citation

CDS: POSS Wil DIST: NARC | 1 1119 CR5602(2} | CDS:IMPORT INTO STATE | 3 3550 CR5614 |

CDS: POSSESS-NOT MARIJUANA | 1 1111 CR5601(a)(1) | CDS: POSS MARIJUANA 10 GM+ | 1 1564 CR5601(a)(1) |

FIREARM/DRUG TRAF CRIME | 1 0493 CR5621(b)(1) |

COMMITMENT PENDING HEARING

TO: PRINCE GEORGES COUNTY DETENTION CENTER
13400 DILLE RD., RECORDS DEPT, UPPER MARLBORO, 20772
YOU ARE HEREBY COMMANDED to receive from any officer the body of the above-named Defendant
who is charged with the offense(s) listed above.
Bail review was held by Judge LAKEECIA RENEE ALLEN and the Defendant is committed
Without Bail.

SUBJECT TO THE FOLLOWING CONDITION(S)/RESTRICTION(S):
COURT ORDERED PTR/PTSU TO VERIFY ADDRESS/

LIVE AT VERIFIED ADDRESS/DO NOT OWN/
POSSESS FIREARMS/AMMO OF ANY KIND

YOU ARE FURTHER COMMANDED to produce the Defendant for Trial/Hearing
on 07/25/2022 at 8:45 a.m. in Court Room 261 at the District Court of Maryland For PRINCE GEORGE'S COUNT

located at COURTHOUSE, 14735 MAIN ST., UPPER MARLBORO, MD 20772

Date: 06/24/2022 Time: 2:30 p.m. JUDGE/@EtR: M7

Tracking No. 190001145902 Judge Lakeecia Allen
CC-DC-CR-028 (Rev. 07/2017)

Case 8:22-cv-01768-PJM Document 59-2 Filed 08/03/22 Page 7 of 10

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DISTRICT COURT OF MARYLAND FOR PRINCE GEORGE'S COUNTY
Located at COURTHOUSE, 14735 MAIN ST., UPPER MARLBORO, MD 20772 Case No. 5E0071539

STATE OF MARYLAND VS. HERNANDEZ, ANIBAL ERICK JR
6815 DECATUR ST
HYATTSVILLE MD 207840000

BAIL REVIEW SUMMARY |

Your bail review was held by Judge LAKEECIA RENEE ALLEN on 06/24/2022.
THE COURT, ON THE DATE SHOWN ABOVE,

HELD YOU WITHOUT BAIL;

AND THE FOLLOWING CONDITIONS/RESTRICTIONS WERE IMPOSED:
COURT ORDERED PTR/PTSU TO VERIFY ADDRESS/
LIVE AT VERIFIED ADDRESS/DO NOT OWN/
POSSESS FIREARMS/AMMO OF ANY KIND

YOU ARE SCHEDULED FOR PRELIMINARY HEARING

on 07/25/2022 at 08:45 a.m. in Room 261 at the District Court of Maryland for PRINCE GEORGE'S COUNTY
located at COURTHOUSE, 14735 MAIN ST., UPPER MARLBORO, MD 20772.

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NOTICE: Unless a final determination of indigency has been made, representation at the Bail Review is provisional and
terminates at the end of the Bail Review. If you have already applied for the Public Defender through the District Court
Commissioner, there is no need to apply again. You will be notified in writing of your eligibility for representation at trial as
soon as a final determination is made. Please allow at least one week before contacting the District Court Commissioner
regarding the status of your Application.

06/24/2022 2:30p.m. Room: 5

Defendant Signature Date

Tracking No. 190001145902
Case 8:22-cv-01768-PJM Document 59-2 Filed 08/03/22 Page 8 of 10

MA

DISTRICT COURT OF MARYLAND FOR Prince George's County

Located at Courthouse, Bourne Wing, Upper Marlboro, Maryland 20772 Case No. 5E00715391

STATE OF MARYLAND VS. HERNANDEZ, ANIBAL ERICK JR
6815 DECATUR ST
HYATTSVILLE, MD, 20784

CC#: XX-XXXXXXX SID: 0004181618
LID: DL#:
Race:2 Sex:M Ht: 5'Q9" Wt: 170 -Hair: BLK Eyes: BRN
DOB: G3 = Home phone: GHEE = Cellphone:
Charge | Statute | AR/Citation | CJISCode Charge | Statute | AR/Citation | CJlSCode
CDS: POSS W/I DIST: NARC | CR 5 602 (2) | | 11119 CDS:IMPORT INTO STATE | CR5614 | | 33550
CDS: POSSESS-NOT MARIJUANA | CR 5 601 (a)(1)] | 11111 CDS: POSS MARIJUANA 10 GM+ | CR 5 601 (a)(1)| | 1 1564

FIREARM/DRUG TRAF CRIME | CR 5 621 (b)(1) | | 1 0493

COMMITMENT PENDING HEARING
O Civil OCriminal OTraffic OODomestic Violence

TO: PRINCE GEORGES COUNTY CORRECTIONAL CENTER
13400 DILLE DRIVE UPPER MARLBORO = 20772
YOU ARE HEREBY COMMANDED to receive from any officer the body of the above-named Defendant

who is charged with the offense(s) listed above.
Without Bail.

SUBJECT TO THE FOLLOWING CONDITION(S)/RESTRICTION(S):
Not engage in criminal activity.Appear in

court.Not own/possess weapons.

Not use alcohol,drug.controlled substance.

YOU ARE FURTHER COMMANDED to:
Produce the Defendant for Bail Review: on 06/24/2022 at 1:15PM in Court Room 261
District Court of Maryland For Prince George's County, Courthouse, Bourne Wing, Upper Marlboro, Maryland 20772.

Produce the Defendant for Trial/Hearing: on 07/25/2022 at 8:45AM in Court Room 261
District Court of Maryland For Prince George's County. Courthouse. Bourne Wing, Upper Marlboro, Maryland 20772.

Need h
Date: 06/23/2022 Time: 5:13 AM Commissioner: i } u Le, ID: 5098
/
XO Bail Review was held on by Judge a and Defendant
is commited in default of $ bail ( % Acceptable).

Tracking No. 190001145902 CC-DC-CR-012 (Rev. 07/2017)
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STATE OF MARYLAND VS.

MO

DISTRICT COURT OF MARYLAND FOR Prince George's County

Located at Courthouse, Bourne Wing. Upper Marlboro, Maryland 20772

Case No. 5E00715391

HERNANDEZ, ANIBAL ERICK JR
6815 DECATUR ST
HYATTSVILLE, MD, 20784

Charge | Statute | AR/Citation | CUlSCode

CDS: POSS Wil DIST: NARC | CR 5 602 (2) | | 11119
CDS: POSSESS-NOT MARIJUANA | CR 5 601 (a)(1) | [1.1171

CC#: XX-XXXXXXX SID: 0004181618
LID: DL#:
Race:2 Sex:M Ht: 5'09" Wt: 170 Hair: BLK Eyes: BRN

DOB: QED = Home phone:

Charge | Statute | AR/Citation | CulSCode

CDS:IMPORT INTO STATE |CR5614 | [33550
CDS: POSS MARIJUANA 10 GM+ | CR 5 601 (a)(1) | | 1 1564

Cellphone:

FIREARM/DRUG TRAF GRIME | CR 5 621 (b)(1)| | 10493

COMMITMENT PENDING HEARING
0 Civil OCriminal OTraffic ODomestic Violence
TO: PRINCE GEORGES COUNTY CORRECTIONAL CENTER
13400 DILLE DRIVE UPPER MARLBORO = 20772
YOU ARE HEREBY COMMANDED to receive from any officer the body of the above-named Defendant

who is charged with the offense(s) listed above.
Without Bail.

SUBJECT TO THE FOLLOWING CONDITION(S)/RESTRICTION(S):
Not engage in criminal activity.Appear in

court.Not own/possess weapons.

Not use alcohol.drug,controlled substance.

YOU ARE FURTHER COMMANDED to:
Produce the Defendant for Bail Review: on 06/24/2022 at 1:15PM in Court Room 261
District Court of Maryland For Prince George's County, Courthouse, Bourne Wing, Upper Marlboro, Maryland 20772.

Produce the Defendant for Trial/Hearing: on 07/25/2022 at 8:45AM in Court Room 261
District Court of Maryland For Prince George's County. Courthouse, Bourne Wing, Upper Marlboro, Maryland 20772.

wy
Date: 06/23/2022 Time: 5:13 AM Commissioner: f he Ly ID: 5098.
2 Bail Review was held on by Judge and Defendant
is commited in default of $ bail ( % Acceptable).

Tracking No. 190001145902 CC-DC-CR-012 (Rev. 07/2017)
Case 8:22-cv-01768-PJM Document 59-2 Filed 08/03/22 Page 10 of 10
CONTINUATION PAC OF INITIAL APPEARANCE REPORT

DISTRICT COURT OF MARYLAND FOR Prince George's County

Located at Courthouse. Bourne Wing, Upper Marlboro, Maryland 20772 Case No. 5E00715391

STATE OF MARYLAND VS. HERNANDEZ, ANIBAL ERICK JR

right to have a preliminary hearing by a request made now or within 10 days; and failure to make a timely request will result
in a waiver of this hearing.
Defendant requests preliminary hearing. It is scheduled for 07/25/2022 at 8:45 AM in Room 261, at Courthouse, Bourne
Wing, Upper Marlboro, Maryland 20772.
Pretrial Release Determination
On the basis of information available to and developed by me 1 HAVE DETERMINED: ..»
Defendant ordered held without bond.
Reasonable likelihood Defendant will not appear when required.
The following Required Condition(s) of Release are imposed on the Defendant:
Do not engage in any criminal conduct during the period of pretrial release.
Appear in court when notified to do so.
Subjected to the following Special Conditions:
Shall not own or possess a firearm, destructive device, or other dangerous weapon of any description.
Abstain from alcohol, or abusive use or possession of a narcotic drug or other controlled dangerous substance as
defined in Code, Criminal Law Article, §5-101(f, without a prescription from a licensed medical practitioner.

The Defendant is to be HELD WITHOUT BOND.

Notice

] INFORMED THE DEFENDANT:

|. that a condition of ANY release is that Defendant appear for hearing and/or trial as directed by the Court.

2. that a warrant will be issued for the Defendant's arrest for any violation of condition(s) of release; that if the
recognizance or bail bond is forfeited and the Defendant fails to surrender within 30 days following the forfeiture,
on a felony charge the penalty imposed may be up to 5 years in jail and/or a fine up to $5,000, or on a misdemeanor
charge the penalty imposed may be up to | year in jail and/or a fine up to $1,000; that the Defendant may be charged
with contempt of Court.

3. to notify the Court in writing of any change of address or eer

(

Date: 06/23/2022 Time: 5:13 AM Commissioner: Lf}: levy, ID: 5098
Receipt

I have tfead Chad read to me the offense(s) for which I am charged,_the conditions of release, the penalty for
violation of the conditions of release, the Notice of Advice of Right to Counsel. I acknowledge receipt of a copy of this form.
My Bail Review date is 06/24/2022 at 01:15 pm in room 261, at Courthouse, Bourne Wing, Upper Marlboro,
Maryland 20772.
I have been informed that the Trial/Hearing date is 07/25/2022 at 8:45 AM in Room 261, at Courthouse,
Bourne Wing, Upper Marlboro, Maryland 20772.

I agree to any conditions of release and agree to appear as directed.

are oe Signature of Custodian Signature of Defendant

mou 247 Ca

Tracking No. 190001145902
DC-CR-007 (Rev. 11/2017)
